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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION
IN RE: INTERIOR MOLDED DOORS Lead Case 3:18-cv-00850-JAG
INDIRECT PURCHASER ANTITRUST

LITIGATION

 

MEMORANDUM IN SUPPORT OF MOTION TO DISSEMINATE NOTICE AND
PROPOSED CLAIM FORM TO THE INDIRECT PURCHASER PLAINTIFF
SETTLEMENT CLASS
Indirect Purchaser Plaintiffs (“IPPs”)' respectfully move the Court, pursuant to Rule 23
of the Federal Rules of Civil Procedure, for: (i) authorization to disseminate notice and the
proposed claim form to the Settlement Class; and (ii) for the appointment of Postlethwaite &
Netterville, APAC (‘P&N”) as the Notice Administrator and Settlement Administrator.
1. INTRODUCTION
This motion is brought in connection with the settlement reached in the above-captioned
action between IPPs and JELD-WEN, Inc. and Masonite Corporation (together, “Settling
Defendants”). On October 8, 2020 (ECF No. 268) and instructing IPPs to file this motion on or
before October 29, 2020. The proposed formal preliminary approval order (ECF No, 224-1),
which has not yet been entered, contemplates the Court approving IPPs’ request for Settlement

Class Counsel to disseminate notice to the members of the Settlement Class, including the form

of, method for, and date of dissemination of notice. See id. at 917.

 

' Unless otherwise indicated, all defined terms have the meaning set forth in the parties’
September 4, 2020 Settlement Agreement (ECF No. 226-1).
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Ik. THE PROPOSED NOTICE PLAN SHOULD BE APPROVED AS SATIFYING
THE REQUIREMENTS OF RULE 23

IPPs respectfully move the Court for approval of the Notice Plan, the notice forms, the
Claim Form and the schedule for implementing the Notice Plan. Upon the Court’s approval, the
proposed Notice Plan and forms of Notice will be disseminated in a “reasonable manner to all
class members who [will] be bound by the proposal” and provide for the “best notice that is
practicable under the circumstances, including individual notice to all members who can be
identified through reasonable effort,” as required by Rules 23(e){1) and 23(c}(2)(B) of the
Federal Rules of Civil Procedure. IPPs further move for the appointment of P&N as the Notice
Administrator for purposes of the implementation of the notice plan and as the Settlement
Administrator.

a. The Notice Plan

IPPs propose a multi-faceted and comprehensive Notice Plan to provide notice of the
settlement to the members of the Settlement Class. IPPs have retained P&N to develop the
Notice Plan and forms of notice for the settlement. P&N routinely develops and executes notice
plans and adininisters a wide variety of class action and mass action settlements, with subject -
matters including, but not limited to, products liability, consumer, mass tort, antitrust, labor and
employment, insurance, and healthcare. The expertise of P&N in legal notice design and
implementation is set forth in the accompanying Declaration of Brandon Schwartz Regarding
Proposed Notice Plan and Administration (“Schwartz Decl.” Ex. 1).

IPPs’ proposed Notice Plan, attached as Ex. C to the Schwartz Decl., is designed to reach
an estimated 70% of the Settlement Class Members and deliver an estimated 323,000,000
impressions. See Schwartz Decl. ff] 26, 28, 39; Ex. 1. The Notice Plan contains the following

elements:

bo
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e Paid Media (Publication and Internet), Earned and Social Media, a website, and a Toll-
Free Telephone Support Line to provide the best notice practicable. See Schwartz Decl. 4]
11.

e P&N will publish the Summary Notice in selected consumer magazines”, with a
combined circulation of approximately 4,600,000. The Summary Notice, and the
substantially similar notices, will, in turn, refer potential Settlement Class members to the
Call Center and the Settlement Website where they can obtain the Long Form Notice and
additional documents and information. See Schwartz Decl. FJ 17-19.

e Similarly, P&N will purchase Internet advertising with an estimated 323,000,000 gross
impressions across various websites, driving potential members of the Settlement Class to
the Settlement Website where they can obtain the Long Form Notice, additional
documents, and information. See Schwartz Decl. {J 26, 28.

e P&N will distribute a press release over PRNewswire’s US1 and Hispanic Newslines in
substantially the same form as the Summary Notice. The press release will be issued
broadly to media outlets, including newspapers, magazines, wire services, television,
radio, and online media nationally. Combined, the Newslines distribute to more than
20,000 media outlets in the United States. See Schwartz Decl. 4 29.

e P&N will incorporate a geofence strategy to individuals that visit Home Depot and/or
Lowe’s locations in the Indirect Purchaser States. When an individual visits one of the
more than 1,300 Home Depot or Lowe’s locations in the Indirect Purchaser States, they
will be added to the “geofence bucket” and served a digital notice while they browse the
internet during and after their visit. See Schwartz Decl. 35.

e P&N will purchase a list of approximately 98,000 postal addresses, with 25,000 email
addresses included, targeting general contractors, home construction/remodel and
handymen businesses in the Indirect Purchaser States. P&N will cause notice in the form
of a postcard by United States Postal Service to all mailing addresses in the purchased
list. See Schwartz Decl. {fj 30-33. In addition, P&N will run the Notice in an estimated
three to seven digital newsletters targeting residential contractors, handymen, residential
homebuilders, and consumers. See Schwartz Decl. { 34.

e P&N will post the Long Form Notice, proposed final judgment, along with other court
documents, and the Settlement Agreement, on the specially created website designed to
provide notice of the settlements in this litigation,
www._InterlorMoldedDoorSettlement.com, which will be made easily findable through
searches conducted on the Internet. See Schwartz Decl. ¥ 36.

e P&N will establish a toll-free hotline to answer any questions by any potential members
of the Settlement Class about the settlement and to provide copies of court approved
notices and other documents. See Schwartz Decl. {| 37.

 

* P&N proposes publishing in Good Housekeeping and Family Handyman. See Schwartz Decl.
{9 17-19.
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Fed. R. Civ, P, 23(e)(1) requires that notice of the settlement of a class action be given “in
a reasonable manner to all class members who would be bound by the proposal,” and Fed. R.
Civ. P. 23(c)(2)(B) provides that in any class certified under Rule 23(b)(3) “the court must direct
to class members the best notice that is practicable under the circumstances, including individual
notice to all members who can be identified through reasonable effort.” IPPs’ proposed Notice
Plan meets these requirements.

The Long Form Notice will be mailed to each potential Settlement Class Member who
requests it in response to the various forms of paid and earned media notice described in detail in
the Schwartz Declaration. Schwartz Decl. {[] 11-37, Ex. i. Further, the Long Form Notice as well
as other settlement documents will be available for view, download, and printing at the

settlement website www.InteriorMoldedDoorSettlement.com. Schwartz Decl. 36, Ex. 1.

 

Because IPPs purchased Interior Molded Doors from third parties, Settling Defendants do
not have the names and addresses necessary to enable Settlement Class Counsel to send notice
by direct mail to each member of the Settlement Class.’ Neither Rule 23 nor due process,
however, require actual notice to each party for a settlement to be binding. See, e.g., a re
Lumber Liquidators Chinese-Manufactured Flooring Prod. Mktg., Sales Practices & Prod. Liab.
Litig., No. 15-md-2627, 2019 WL 10749716 (E.D. Va. Aug. 23, 2019) (holding that multi-tiered
notification program intended to reach 73% of class members was sufficient to bind class
member who did not receive actual notice). Rather, due process only requires notice that is
reasonably calculated to reach interested parties. /d. See also Mullane v, Cent. Hanover Bank &

Tr., 339 U.S. 306, 315 (1950).

 

* As detailed above, the Notice Plan does contain a direct notice component. See Schwartz Decl.
4] 30-33, Ex. 1.
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Thus, for example, in Jn re Warfarin Sodium Antitrust Litig., 212 FR.D. 231 (D. Del.
2002), the court determined that where the names and addresses of absent class members were
unavailable, publication notice was the best notice practicable under the circumstances. fd. at
252. The Third Circuit affirmed, rejecting challenges to the notice. Jn re Warfarin Sodium
Antitrust Litig., 391 F.3d 516, 536-37 (3d Cir. 2004). See alse In re Google Referrer Header
Privacy Litig., No. 5:10-cv-04809, 2014 UWL 126609], at *7 (N.D. Cal. Mar. 26, 2014)
(approving notice plan consisting solely of publication notice because “the size and nature of the
class renders it nearly impossible to determine exactly who may qualify as a class member. . . .
That being the case, direct notice to class members by mail, e-mail or other electronic
individualized means is impractical.”); 7x re Heartland Payment Sys. Inc, Customer Data Sec.
Breach Litig., 851 F. Supp. 2d 1040, 1061 (8.D. Tex. 2012) (approving notice plan that consisted
exclusively of publication notice because “[Defendants] did not have the names and addresses of
those affected by the data breach and could not reasonably request this information for 130
million accounts from the issuer banks.”); Manuai for Complex Litigation, Fourth § 21.312 at p.
294 (Federal Judicial Center 2004) (“Posting notices and other information on the Internet,
publishing short, attention-getting notices in newspapers and magazines, and issuing public
service announcements may be viable substitutes for, or more often supplements to, individual
notice if that is not reasonably practicable”).

b. The Proposed Notice Plan Schedule

As outlined in the Proposed Order submitted herewith, IPPs propose the following notice
schedule:

e December 7, 2020: P&N launches the toll-free settlement hotline, and publishes the
decuments on the Settlement Website (Proposed Order at 2);
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¢ December 7, 2020: P&N commences publication of the Summary Notice; begins online
media notice activities, including Internet banner ads; and begins earned media activities.

(id.);
® February 11, 2021:
© Filing of motion for final approval of the Settlement Agreement (7d.);
o Filing of motion for approval of the Plan of Allocation (id.);

o Filing of P&N affidavits/declarations reflecting that mailing, posting, and
publication were made in accordance with the Proposed Order (fd.); and

o IfSettlement Class Counsel so elect, filing of motion for attorneys’ fees,
reimbursement of expenses and class representative service awards (id.).

¢ March 15, 2021: Deadline for Settlement exclusions (opt-outs) (id.)

e March 15, 2021: Deadline for Settlement objections and comments (id.])
e April 6, 2021: Deadline for submitting claims (id.); and

¢ No earlier than April 19, 2021: Final Fairness Hearing. (id. at 2-3).

For the above reasons, IPPs respectfully request that the Court adopt the schedule
contained in the Proposed Order.

¢. The Form and Content of the Proposed Notices

IPPs also seek approval of the proposed form and content of the Complete (Long Form)
and the Summary (Short or Publication Form) Notices, as well as the Claim Form.’ A form of
notice is sufficient if it would be understood by the average class member. 4 Alba Conte &
Herbert B. Newberg, Newberg on Class Actions, § 11.53 (4th ed. 2002). Accordingly, the
information required by Rule 23(c)(2)(B) is set forth “clearly and concisely .. . in plain, easily
understood language” at the following sections of the notices:

« Nature of the actions--Long Form § 2, Short Form;

 

“The Complete and Summary Notices are attached as Exhibits D and E to the Schwartz
Declaration.
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e¢ Settlement Classes’ Definition—Long Form § 6, Short Form;
« Settlement Classes’ Claims, Issues & Defenses-—-Long Form § 2, Short Form;
e Right to appear—Long Form §§ 21-22, Short Form;

e Right to exclude/Time & Manner to Request Exclusion—Long Form § 13, Short Form;
and

e Binding effect-—-Long Form § 12, Short Form.

Additionally, the Long Form Notice informs potential Settlement Class Members about
the identity of the Settling Defendants; the product included in the settlement; the amount of the
settlement; where to access the complete Settlement Agreement and other court documents; how
the lawyers may be paid in the future; when the lawyers will file their petition for reimbursement
of litigation expenses; Settlement Class Members’ right to object or opt out and how to do so;
and the date, place and time of the Fairness Hearing, among other information. This additional
information conforms with Rule 23(e)’s requirement for distribution of the settlement notice in a
reasonable manner. See In re Outer Banks Power Outage Litig., No. 4:17-CV-141, 2018 WL
2050141, at *6-*7 (E.D.N.C. May 2, 2018). See also In re Prudential Ins, Co, Am, Sales Practice
Litig. Agent Actions, 148 F.3d 283, 327 (3d Cir. 1998) (“The Rule 23(e) notice is designed to
summarize the litigation and the settlement and to apprise class members of the right and
opportunity to inspect the complete settlement documents, papers, and pleadings filed in the
litigation.” (internal quotation marks omitted)). Finally, the Long Form Notice explains to
potential members of the Settlement Class that a distribution of the Net Settlement Funds will
occur at a future time and encourages Settlement Class Members to register with the Settlement
Website to obtain information on the plan of allocation, when available, and the filing of claims.

See Long Form §§ 11, 23.
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For the reasons stated above, the proposed Notice Plan, notice forms, and Claim Form

fulfill the requirements of Rule 23 and due process, and should be approved by the Court.

TH. CONCLUSION

For ail of the foregoing reasons, IPPs respectfully request that the Court: (1) approve the
proposed Notice Plan and the form and content of the Notices submitted herewith, including the
Claim Form; and (11) appoint P& N Notice Administrator and Settlement Administrator.

Dated: October 29, 2020 Respectfully submitted,

By: /s/
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CERTIFICATE OF SERVICE
I hereby certify that on October 29, 2620, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will automatically e-mail notification of

such filing to all counsel of record.

To the best of my knowledge, there are no other attorneys or parties who require service

by U.S. Mail.

By: fsf
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